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                                            FRANCESIIAYCRAFT                              FILED
                                                                                         u.s.Dl*ict Cowt
                                               321 S. McComas                            n1~ r#Kanaa

                                               Wichita, KS 67213
                                                                                       JUL ,2 4 2015
                                                316-882-2056
                                                                                  ~DL;,! Cou~ Clllt

       July 20, 2015

       The United States District Court
        For the District of Kansas
       403 U.S. Courthouse
       401 North Market
       Wichita, Kansas 67202-2000

       Re: Case No. (Blank)


       Earlyn Frances Haycraft

       Vs.

       J:eRE, CEO Paul Winger,
         incoln Meaoows Apartments,
       9000 E. Lincoln St,
       Wichita, KS 67207

               Co-Defendants

       Fidelity Bank Corp. CEO - Clay Bastian,
       Fidelity Management Corp., d/b/a Ponderosa
        Apartment Comple
       5900 E. Mainsgate St.
       Wichita, KS 67220



       To the Court:

       I am Earlyn Frances Haycraft. As to the "History" of the filings I have had to do in both the

       Federal Court, and more recently in the State Court, has been a lesson on how nearly impossible

       it is to have an attorney to represent you. The cards, so to speak, are so stacked against you that
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being Prose is literally is a "no brainer"! So far I have been unable to penetrate that barrier that

is placed in front of a litigant. This last week is a perfect example of the sad condition of the

"Court System" in the United States of America. My case against the tvvo co-defendants in the

18th Judicial Ct. here in Sedgwick County, would make the best of Jurists to shudder. On Friday,

July 1Oth, Judge Timothy Henderson dismissed my case ....... not informing me in that

hearing ...... that the case had been dismissed some time earlier that week,

Something is terribly wrong here ..... So I have prepared a document asking that Court to make

copies of the Court proceeding of which I was denied my presence. Ms Haig, Manager of the

Federal Court, was present with an attorney, likewise an attorney was present to represent Judge

Goering also, from the State Supreme Ct., WHY? .......... in my hearing on the lOth of July! The

attorneys and/or the Judiciary were acting, I might say, strangely suspicious!


Therefore, I contend that my Civil Rights and/or Constitutional Rights need to be restored in the

Courts. It would just be a waste of time to remedy this miscarriage of Justice by appeal. So I am

going back to Federal Court and file a new petition , that just reverses the two defendant to the

Federal System.   1st   Count: Both committed breaking the ADA Discrimination Clause; with

Lincoln Meadow's employee's hardly able to contain themselves to evict me, in that facility. I

will produce the evidence to show the documentation from their own e-mail communications.

I am sure the lawyers will argue the statute of limitations argument but it is their own

Attempts to create the atmosphere of doubt, delay tactics to get my complaint dismissed from the

get-go. Finally, it was stated in Judge Henderson's statement, that I could come back to the

Federal System and continue in the 1Oth Circuit. I believe he said I had 30 days to file. He also
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     stated that I can have an attorney to be my counsel to plead my case against these co-defendants.

     Ms. Glover, The Human Resources Director ofKS, told me that redacted evidence can no longer

     be withheld was legislated this last session of the Kansas Legislative Body 2012, evidence these

     two defendants' attorneys have gotten Judges in both State and Federal that have been withheld

     from me.. Also, Judge Calvert, retired Kansas District Judge, stated that I could have someone

     appointed to represent me.


     I truly believe that Judge Belot has shown disregard for my rights; as I am handicapped, and

     have many problems medically that these conditions have been exacerbated as a result of not

     getting the help of a Counsel to help me through this difficult period. I am asking the Court to

     place another Judge, to address this case for further adjudication, in this district. To expedite this

     case, please address the opposing attorney's tactics of constantly trying to keep my case from

     going forward. This has been a difficult time for me. I have great empathy for the courts and to

     see this issue resolved.
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cc:

United States Federal Court lOth Circuit
Chief Judge Mary Beck Briscoe
Circuit Court of Appeals
Byron White U.S. Courthouse
1823 Stout Street
Denver, Co. 80257


Jeremy K. Schrag
ALAN L. RUPE, #08912
JEREMY K. SCHRAG, #24164
LEWIS BRISBOIS BISGAARD & SMITH LLP
1605 North Waterfront Parkway, Suite 150
Wichita, KS 67206


Terrence L. Huelskamp
TERRENCE L. HUELSKAMP, #1283
LAW OFFICE OF TERRENCE L. HUELSKAMP, P.A.
550 North 1591h St. E., Suite 104
Wichita, KS 67230
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                      FIDELITY MANAG                   RP, INC. dba PONDEROSA APARTMENTS v.

                                        .     EARLYNHAYCRAFI' 06/20/34
                                            Address:5900 E MAINS GATE #803
           On this date        ~ 1
           and animals were evict~ . / 6
                                       J/   ~      . · ,  by court order Case No. 12 LM 11873. all persons


           LOCKS ARE CHANGED.
                        - --·····------------------- -·- ------- ...                       ·· - - - - - -··---·--· --·· ····

           YOU CAN BE ARRESTED FOR FELONY TRESPASS.

           CONTACT YOUR LANDLORD WITH QUESTIONS.

                           ANIMAL(S):     Any animal(s) at this address have been taken by animal control.
                                          Contact them inunediately. The animal(s) may be destroyed in 3 days.
                                          838-9623
  CVj   QIY\   ~
                           VEHICLE (S): Any vehicle(s) on this property may have been towed to storage.
 ~ ~---\       b;x                        ~~:::.~~~~~~sf:~There will be a tow fee of $55.00 and $6.00

 0~~ tA) ~~                               Redeem your vehicle(s) as soon as possible.


  ~J ~~vvf                 FIREARMS: Firearms found in this rental may be in storage.---Call Aristocrat at
                                     267-1356, to pick up. There are no charges.

   ~~~ DRUGS:

                                           Your personal property may ha been removed by the landlord
  {\       '1'f&J'-        PROPER1Y:       who has a lien on o          until the rent is paid. Your
llI \            _L   f)                   property may b ,

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  . . ~-~
        --~
          --~-~--------~~~------
~e         0;:rtl~ted                 Process Server, S"'judicial District Court


f!O\L   I'd~ ~~~                          · · ..   J              )t:5o_\R..       ~       cJ_   ~~
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 ~~!OM~                                            ·                   .                              A'fiO i~#~
          Case 6:15-cv-01228-JTM-GEB Document 1 Filed 07/24/15 Page 11 of 20




                                          TN TifE DISTRICr COURT OF SEDGWICK COUNTY, KANS~~. ~                                     .         -1{Y!
                                                                                                                                                -·· ··....
                                                               CIVILDEPARTMEN'f                           .. .
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FIDEUTI MANAGEMENT CORP, INC. dba PONDEROSA APARTMENTS,                                                           ,\rP 'OOC~ET H~. -                   .
                          Plaintiff(s),
                                                                                                          .         .                  \ p . \:•1'\1 I
vs.                                                                                   Case No. 12LM 11~7j           •11\t' J\1 Ji
                                                                                                      ;                      · RK OF 0\ST COURT
EARLYN HAYCRAr"T                                                                                              l          c1~ JUO\Cli\L o1si~t~l
               Dcfcndant(s).                                                                                            l~EOG\IICK COUNT 'f. K:;,
Pursuant to Chapter 61 of KS.A.                                                                                         BY                         ~I ( ·
                                                          ,TOUBNAL ENTRY OF wlUDGMENI

               On 07             .£i.hot2,
                                  thls action comes on for final judgmctlt or disposition.
               Plaintiff's attorney advises the court that each defendant against who judgment is entered has been properly
                                                                                                                                      .

scrv.~d ~~l summons or process herein and that this coutt hu jurisdiction to enter the judgment requested.
            -- Whineupa~- rne"coutt fiiida that Judgment shoUld be entered:'. .... - - ~--·---.. .. .. . - .................. " .. ..
_       by reason of the default of the said defendant(s);

_       by 3gtec:mcnt of the p-.~rtie~; or

_       appeared and pled "No Contest"; or

16. (\'<'itncs       or PI · tift)
                                                                           witnc~
                 uiaJ of rhe issues hen:in and the testimony of the following
                                                                              (Witnesses for Defendant)


                                                                                 ~· · ~~~"·
X   (FORCIBLE DETAINER) Judgment for the Plaintiff(s) :agsinst defendant(s), and all others residing therein,
Defendants(•) for restitution of the premises at 5900 E 1·L UNSGA"IE #SOl, \"V£CfflTA, I<S 67220, for which a writ of restitution shall
issue.                                                                      ·

_ NO \'V'R.IT NECESSARY




                                                                          ..,

                                                                                                                             crCOURT


                                                                                                                                   JUL 31 ZOlZ

Br-·-Artomey
      ---------------------------------
             for Defendant OR Defendant

      This is an attempt to collect a debt. Any and all information obtained will be used
      for that purpose and that purpose ONLY. This communication is from a debt collector .
                                                                                                                             A.OO i 07
           Case 6:15-cv-01228-JTM-GEB Document 1 Filed 07/24/15 Page 12 of 20
                                                                 CIVIL DEPARTMENT

 FIDELITI :MANAGEMENT CORP, INC. dba PONDEROSA APARTMENTS,                                                                              FILED
 Plaintiff(s),
                                                                                                                           A?P DOCKET HO.
 vs.                                                                                          Case No. 12 I..M 11873
                                                                                                                              11tt JUl 3\ p ' 1:             I~ I
 .EARLYN HAYCRAFT
 and all others residing therein or at,
 5900 E ~1AINSGA1E #803
 WICHITA, KS 67220
 Defendant(s).


                                                                   WRIT OF RF.STITimON

 THE STATE OF KANSAS to Kyle Jones, Matt Hilpert, Van Johnson, Teay Monasmith, Emery Goad, Dwight .Applegate, Ron Cody and Richard Meek,
_Process   Serv~•.o! anY...~~-~f ~to~~--~~-~~~~ of SE~G_!!~~c_~~ty!_Kan_!~----------------------·- -· -····· .
                       Whueu, on 07/lJ./2012 in an action pending in this court, FIDELITY MANAGEMENT CORP, INC. dba
 PONDEROSA APARTMENTS,                   plaintiff, recovered judgment against EARLYN HAYCRAFI' , defendant(s), for restitution of the
 following described premises to wit

                      5900 E MAINSGATE #803, WICHITA, KS 67'12.0, and all common areas, yards, driveways and property of
 the plain tif£


                     Kyle Jones, Matt Hilpert, Van Johnson, Teay Monasmitb, Emery Goad, Dwight Applegate, Ron Cody and Richard Meek, or any
other agent of Aristocrat Process Serving, either individually or together in any combination, are bceby appointed by the Court as special process servers
pursuant to law to execute this writ. They are commanded to cause such defendant(•) and all other occupants to be forthwith removed from such premises
and all common areas, yards, drivew~~.ys and property of the plaintiff, and to restore possession of said premises to plaintiff. The execution of this writ may
involve the use of such force as is reasonably necessary to remove defendant(s) and all other occupants from and restore possession of the premises to
plaintiff.



Dated
                                                                                JEFFR EY E. GOERll'J<'j;

                                                                          JUDGE OF TilE DISTRICT COURT                                       JUL 31 2012




On _ _ _ _ _ _ ___,2012, at _ __                       m., received this writ


On _ _ _ _ _ _ ____. 2012, above desaibed premises vacated and plaintiff(s) restored to possession.


                           Under penalty of perjury I certify the above to be the times and




                                                                          Special Process Serv
                                                                          (POND-121798),
                                                                          .Aristocrat/KIS
                                                                          Office: (316) 267-1356 (c)J16-259-3366

                                                                                                                         ADO lJ6
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                Case 6:15-cv-01228-JTM-GEB Document 1 Filed 07/24/15 Page 18 of 20

....
   '


       ~ Apartment#

                                    PRE-RENTAL SCREENING QUESTIONNAIRE

                                         Criminal History and Background Check




       # _ __




       All residents should acknowledge that the property owner(s) and management work closely with the
       Wichita Police Department. By signing this Addendum you acknowledge that ALL the information
       contained about you or any resident(s) of your household is true and correct. ANY DESCREPANCIES
       FOUND EVEN AFTER THE DME OF MOVE IN SHALL BE CONSIDERED AS A MATERJAL AND
       IRREPARABLE VIOLATION OF THE LEASE AND GOOD CAUSE FOR IMMEDIATE TERMINATION OF
       TENANCY.

       By signing this document, you acknowledge that you and/or any member(s) of your household authorizes
       the property owner(s) and/or management to verify the information enclosed by any means of
       investigation including but not limited to references, credit reports, criminal records, tenant performance
       reports, and any other means deemed necessary. The applicant(s), resident(s), and household members
       release the property owner(s) and management from any liability of false information that may be
       disseminated to the property that may look unfavorably on them.

                                                                                                      AOJn03
                                               / ;o
       Resident Signature                                    Resident Signature                Date
                    Case 6:15-cv-01228-JTM-GEB Document 1 Filed 07/24/15 Page 19 of 20

~?it -Application# 5699.                                                                                  Page 1 of6




                                                Unit Application ID: 5699248
                                                                                            1t · LexisNexis-
 Pf   , i· : pQ'nderog'"'-
                        ~ Property ID: 106960
 p     : l16·6H-7461                                                                       Toll fn!e:     800-<Q7•32._
 s~~ eel by: 59001!        } \                                                               Phone:       972-952·1480
 ReCilr( • '1J.).7 20~ :3'6:43 PM                                                      Fax Toll FrH:      800.687·1099
 Completed: 2/E/.]JJ 0 4:40:l9 PM                                                                fillCl   971·952.·1483
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  FIDEUTY MANAGEMENT CORPORAnON
  Residential Screening Analysis Report                                        Apt#: 59803 Monthly Rent: $560




   Application information submitted by 5900em


https://resident.lexisnexis.comlreports.aspx?type=l&unitappid=5699248                                      2/2812010
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     '   .
  f.!~it Application# 5699,.                                                                                Page 2 of6


                                                                        Current Address: 135 N GREEN sr
                                                                                         WIOiiTA, KS 6nl4


                                                        Previous Address • Street Number: 135
                                                                                 Zip COde: 6n14




                                                                                                  Redacted



https://resident.lexisnexis.com/reports.aspx?type=l&unitappid=5699248                                       2/28/2010
